                                                                            DISTRICT OF OREGON
                                                                                  FILED
                                                                                October 25, 2018
                                                                          Clerk, U.S. Bankruptcy Court



  Below is an Order of the Court.




                                                              _____________________________
                                                                     TRISH M. BROWN
                                                                   U.S. Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT

                                  DISTRICT OF OREGON



In re:                                         Case No. 18-33183-tmb11

COLONIAL OAKS MOBILE HOME PARK,                ORDER AUTHORIZING EMPLOYMENT
LLC                                            OF BANKRUPTCY COUNSEL FOR
                                               DEBTOR
                      Debtor.                  (MOTSCHENBACHER & BLATTNER, LLP)




         THIS MATTER having come before the Court on the application of Colonial Oaks

Mobile Home Park, LLC, Debtor-in-Possession (“Debtor”), for an order authorizing him to

employ Motschenbacher & Blattner, LLP as attorneys for Debtor; the Court having reviewed the

motion and accompanying 2014 statement, and being otherwise duly advised; now, therefore,

/////

/////


                                                                             Motschenbacher & Blattner, LLP
Page 1 – ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                           117 SW Taylor St., Suite 300
                                                                                   Portland, OR 97204
         COUNSEL (Motschenbacher & Blattner)                                      Phone: (503) 417-0500
                                                                                   Fax: (503) 417-0501


                     Case 18-33183-tmb11       Doc 60    Filed 10/25/18
       IT IS HEREBY ORDERED as follows:

   1) Debtor’s Application to Employ Counsel is approved, and Debtor is authorized to employ

the law firm of Motschenbacher & Blattner, LLP as of the Petition Date as Debtor’s Chapter 11

counsel to represent Debtor in conducting the case; and

   2) The Debtor shall pay said attorneys for their services, and shall reimburse expenses

incurred by said attorneys, only upon the entry of an order of the Court approving such fees and

expenses under 11 U.S.C § 330, and other applicable provisions of the Bankruptcy Code and

Local Bankruptcy Rules.

                                              ###

Order Presented by:

MOTSCHENBACHER & BLATTNER, LLP

/s/ Nicholas J. Henderson
Nicholas J. Henderson, OSB #074027
Telephone: 503-417-0500
E-mail: nhenderson@portlaw.com
Of Attorneys for Debtor

                                    PARTIES TO SERVE

ECF Electronic Service:

      NICHOLAS J HENDERSON nhenderson@portlaw.com,
       tsexton@portlaw.com;mperry@portlaw.com
      SCOTT L JENSEN slj@brownrask.com, lac@brownrask.com
      KATIE JO JOHNSON katiejoj@mcewengisvold.com,
       clairej@mcewengisvold.com;docketing@mcewengisvold.com
      CARLA GOWEN MCCLURG carla.mcclurg@usdoj.gov
      ROBERT A SMEJKAL bob@attorneysmejkal.com, kmcgie@arnoldgallagher.com
      US Trustee, Portland USTPRegion18.PL.ECF@usdoj.gov

Service via First-Class Mail:

       NONE

                                                                               Motschenbacher & Blattner, LLP
Page 2 – ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                             117 SW Taylor St., Suite 300
                                                                                     Portland, OR 97204
         COUNSEL (Motschenbacher & Blattner)                                        Phone: (503) 417-0500
                                                                                     Fax: (503) 417-0501


                      Case 18-33183-tmb11        Doc 60     Filed 10/25/18
